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   1. Approved. Mr Ricks to submit order. If Ms. McClurg does not agree to form of order, she may

      submit her version and court will rule on form.

   2. Approved. Mr. Wolf's clients objection resolved by form of order.

   3. Exclusivity for Plan/Disclosure Approved. Objection of Committee overruled; Exclusivity for

      contracts and leases approved with exception of Columbia Oregon 98th Industrial, LLC.




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